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15
                   IN THE UNITED STATES DISTRICT COURT
16               FOR THE EASTERN DISTRICT OF WASHINGTON
17

18

     EQUAL EMPLOYMENT
                                              CIVIL ACTION NO. CV-12-550-TOR
19
     OPPORTUNITY COMMISSION,
20

21                   Plaintiff,               COMPLAINT
22                      v.
                                              JURY TRIAL DEMAND
23
     NATIONAL FOOD CORPORATION,
24

25
                     Defendant.




                                                         EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
     COMPLAINT - 1                                                  SEATTLE FIELD OFFICE
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                                                                        (206) 220-6883
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1
                                NATURE OF THE ACTION
2

3          This is an action under Title VII of the Civil Rights Act of 1964 and Title I
4
     of the Civil Rights Act of 1991 to correct unlawful employment practices on the
5

6
     basis of sex, and to provide appropriate relief to the Charging Party in EEOC

7    Charge Number 551-2010-01463(hereinafter, “Jane Doe”) and a class of similarly
8
     situated employees, including but not limited to: Leslie Silva, Ramiro Moran,
9

10
     Magdalena Saldaña, and Maria Gomez. The Equal Employment Opportunity

11   Commission alleges that defendant National Food Corporation subjected Jane Doe
12
     to a hostile work environment and disparate treatment because of her sex. The
13

14
     EEOC further alleges that National Food retaliated against Jane Doe in the terms

15   and conditions of her work, terminated her employment because of her sex and in
16
     retaliation for complaining about the discrimination she suffered at National Food.
17

18
     In addition to Jane Doe, the Commission alleges that National Food retaliated

19   against a class of similarly situated employees, including but not limited to Leslie
20
     Silva, Ramiro Moran, Magdalena Saldaña, and Maria Gomez for opposing
21

22   National Food’s discriminatory practices, which included, among other things,

23   terminating their employment or causing their constructive discharge.
24
           The Commission seeks monetary relief, including non-pecuniary
25

     compensatory and punitive damages, and injunctive relief, for Jane Doe, Leslie


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1
     Silva, Ramiro Moran, Magdalena Saldaña, and Maria Gomez and similarly situated

2    employees as result of the damages they suffered because of National Food’s
3
     conduct.
4

5
                                          PARTIES

6          1.     Plaintiff Equal Employment Opportunity Commission (the
7
     “Commission” or “EEOC”), is the agency of the United States of America charged
8

9
     with the administration, interpretation and enforcement of Title VII of the Civil

10   Rights Act, as amended, and is expressly authorized to bring this action by Section
11
     706(f)(1) of Title VII, 42 U.S.C. §2000e-5(f)(1).
12

13
           2.     Defendant National Food Corporation (“National Food” or

14   “Defendant”) is a Washington Corporation with its principle place of business in
15
     Everett, Washington.
16

17         3.     At all relevant times, National Food has been a corporation
18   continuously doing business in the State of Washington and has continuously had
19
     at least 15 employees.
20

21         4.     At all relevant times, defendant National Food has continuously been
22
     an employer engaged in an industry affecting commerce within the meaning of
23
     Sections 701(b), (g) and (h) of Title VII, 42 U.S.C. §§2000e-(b), (g) and (h).
24

25




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1
                                JURISDICTION AND VENUE

2           5.     This Court is has jurisdiction over this action pursuant to 28 U.S.C.
3
     §§451, 1331, 1337, 1343 and 1345. This action is authorized and instituted
4

5
     pursuant to sections 706(f)(1) and (3) of Title VII of the Civil Rights Act of 1964,

6    as amended, 42 U.S.C. sections 2000e-5(f)(1) and (3), and Section 102 of the Civil
7
     Rights Act of 1991, 42 U.S.C. §1981a.
8

9
            6.     Venue is proper in this Court because the employment practices

10   alleged to be unlawful were committed in and around Lind, Washington, which is
11
     within the jurisdiction of the United States District Court for the Eastern District of
12

13
     Washington.

14

15
                                  STATEMENT OF CLAIMS
16

17          7.     More than thirty days prior to the institution of this lawsuit, Jane Doe,
18   a female, filed a charge with the Commission alleging violations of Title VII by
19
     Defendants. All conditions precedent to the institution of this lawsuit have been
20

21   fulfilled.
22
            8.     From approximately May 2003 through late 2010, National Food
23
     engaged in unlawful employment practices at its Lind, Washington facility in
24

25   violation of § 703(a) and §704(a) of Title VII, 42 U.S.C. § 2000e-2(a) and §

     2000e-3(a). National Food engaged in these unlawful practices by subjecting Jane

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1
     Doe to a hostile work environment and disparate treatment because of her sex.

2    National Food further engaged in unlawful practices by retaliating against Jane
3
     Doe in the terms and conditions of her work, and terminating Jane Doe because of
4

5
     her sex and in retaliation for complaining about the discrimination she suffered at

6    National Food. In addition to Jane Doe, National Food retaliated against Leslie
7
     Silva, Ramiro Moran, Magdalena Saldaña, Maria Gomez, and a class of other
8

9
     employees for opposing National Food’s discriminatory practices, which included

10   among other things, discharging Ramiro Moran, Magdalena Saldaña, and Maria
11
     Gomez and causing Leslie Silva’s constructive discharge.
12

13
           9.     The practices by National Food complained of in paragraph 8 include,

14   but are not limited to, the following: from at least May 2003 through February
15
     2010, National Food’s Farm Manager demanded sexual favors as a condition of
16

17   Jane Doe’s employment and assigned her harder work, disciplined her unfairly,
18   and terminated her employment when she rejected his sexual demands. In
19
     approximately July 2009, a meeting was held and employees, including the
20

21   Production Manager, Jane Doe, Leslie Silva, Ramiro Moran, Magdalena Saldaña,
22
     Maria Gomez, and other current and former employees attended. During the
23
     meeting, the group complained about the Manager’s sexually harassing conduct.
24

25   Defendant was made aware of the hostile work environment that Jane Doe suffered

     and failed to take immediate and appropriate corrective action. Employees who

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1
     attended the July 2009 meeting were retaliated against, which included their

2    discharge or constructive discharge.
3
           10.    The effect of the practices complained of in paragraphs 8 and 9 above
4

5
     has been to deprive Jane Doe, Leslie Silva, Ramiro Moran, Magdalena Saldaña,

6    Maria Gomez, and similarly employees of their equal employment opportunities
7
     and otherwise adversely affected their status as employees.
8

9
           11.    The unlawful employment practices complained of in paragraphs 8

10   and 9 above were willful and intentional.
11
           12.    The unlawful employment practices complained of in paragraphs 8
12

13
     and 9 above were done with malice or with reckless indifference to the federally

14   protected rights of Jane Doe, Leslie Silva, Ramiro Moran, Magdalena Saldaña,
15
     Maria Gomez, and similarly situated employees.
16

17

18                                 PRAYER FOR RELIEF
19
           Wherefore, the Commission respectfully requests that this Court:
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21         A.     Grant a permanent injunction enjoining Defendants, its officers,
22
     successors, agents, assigns, and all persons in active concert or participation with
23
     it, from engaging in any discriminatory employment practices.
24

25




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1
           B.     Order Defendant to institute and carry out policies, practices, and

2    programs which provide equal employment opportunities for all employees, and
3
     which eradicate the effects of its past and present unlawful employment practices.
4

5
           C.     Order Defendant to make whole Jane Doe, Leslie Silva, Ramiro

6    Moran, Magdalena Saldaña, Maria Gomez and similarly situated employees by
7
     providing compensation for past and future non-pecuniary losses resulting from the
8

9
     unlawful practices complained of in paragraphs 8 and 9 above, including without

10   limitation emotional pain and suffering, loss of enjoyment of life, and humiliation
11
     in amounts to be determined at trial.
12

13
           D.     Order Defendant to pay Jane Doe, Leslie Silva, Ramiro Moran,

14   Magdalena Saldaña, Maria Gomez, and similarly situated employees punitive
15
     damages for its malicious and reckless conduct described in paragraphs 8 and 9
16

17   above, in amounts to be determined at trial.
18         E.     Grant such further relief as the Court deems necessary and proper in
19
     the public interest.
20

21         F.     Award the Commission its costs in litigating this action.
22

23
                                  JURY TRIAL DEMAND
24

25         The Commission requests a jury trial on all questions of fact raised by its

     complaint.

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1
     DATED this 28th day of September, 2012.
2

3
     U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
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17         William R.Tamayo
18   Attorneys for Plaintiffs
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